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 1   JOSEPH N. AKROTIRIANAKIS (Bar No. 197971)
      jakro@kslaw.com
 2   AARON S. CRAIG (Bar No. 204741)
      acraig@kslaw.com
 3   KING & SPALDING LLP
     633 West Fifth Street, Suite 1700
 4   Los Angeles, CA 90071
     Telephone:    (213) 443-4355
 5   Facsimile:    (213) 443-4310

 6   Attorneys for Defendants
     NSO GROUP TECHS. LTD. and Q CYBER TECHS. LTD.
 7

 8                              UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                    OAKLAND DIVISION
11

12   WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
13   corporation,                                 STATEMENT PURSUANT TO LOCAL
                                                  RULE 79-5(F)(3) OF DEFENDANTS NSO
14               Plaintiffs,                      GROUP TECHNOLOGIES LIMITED
                                                  AND Q CYBER TECHNOLOGIES
15         v.                                     LIMITED IN RESPONSE TO
                                                  PLAINTIFFS’ ADMINISTRATIVE
16   NSO GROUP TECHNOLOGIES LIMITED               MOTION TO CONSIDER WHETHER
     and Q CYBER TECHNOLOGIES LIMITED,            ANOTHER PARTY’S MATERIAL
17                                                SHOULD BE FILED UNDER SEAL [RE
                     Defendants.                  DOCKET NO. 530]
18

19                                                Judge: Hon. Phyllis J. Hamilton
20                                                Action Filed: 10/29/2019
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     DEFENDANTS’ LOCAL RULE 79-5(F)(3)                                 Case No. 4:19-cv-07123-PJH
     STATEMENT [DKT. 530]
     Case 4:19-cv-07123-PJH          Document 544        Filed 01/23/25     Page 2 of 4



 1          Pursuant to Civil Local Rule 79-5(f)(3), Defendants NSO Group Technologies Limited and

 2   Q Cyber Technologies Limited (collectively, the “Defendants”) submit this statement in response

 3   to Plaintiffs’ Administrative Motion to Consider Whether Another Party’s Material Should Be Filed

 4   Under Seal (“Administrative Motion”) (Dkt. 530). Plaintiff identified Exhibit F to the Declaration

 5   of Micah G. Block in Support of Plaintiffs’ Notice Motion and Motion to Exclude the Expert

 6   Testimony of Terrence McGraw as containing references to materials that Defendants have

 7   designated as confidential pursuant to the Stipulated Protective Order (Dkt. No. 132). Exhibit F to

 8   the Block Declaration is the report of Plaintiffs’ technical expert, David Youssef (the “Youssef

 9   Report”), which Defendants have previously sought leave to file under seal. See Dkt. 511 at 2-3.

10   Defendants provide their position regarding sealing of the Youssef Report below.

11   I.     LEGAL STANDARD

12          Although courts recognize a general right to inspect and copy public records, “access to

13   judicial records is not absolute.” Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178 (9th

14   Cir. 2006). The showing necessary to seal materials depends on how closely related those materials

15   are to the merits of the case. “A party seeking leave to file documents under seal in conjunction

16   with a non-dispositive motion” need only show “good cause exists to file the information under

17   seal.” Uniloc United States of Am., Inc. v. Apple Inc., No. 18-cv-00362-PJH, 2018 WL 2392561,

18   at *3 (N.D. Cal. May 25, 2018) (Hamilton, J.). Under the “good cause” standard, the relevant

19   inquiry is “whether good cause exists to protect the information from being disclosed to the public

20   by balancing the needs for discovery against the need for confidentiality.” Wells Fargo & Co. v.

21   ABD Ins. & Fin. Servs., No. C 12-3856 PJH, 2013 WL 897914, at *1 (N.D. Cal. Mar. 8, 2013)

22   (Hamilton, J.).   Here, the Materials are not filed in connection with a dispositive motion.

23   Accordingly, the “good cause” standard applies to this Motion. “Good cause” requires only “a

24   particularized showing” that sealing is appropriate, which “will suffice to seal documents.”

25   Kamakana, 447 F.3d at 1180.

26   II.    DEFENDANTS’ LOCAL RULE 79-5(F)(3) STATEMENT

27          As shown below, good cause exists warranting sealing the entirety of the Youssef Report

28   (Dkt. 524-3) attached as Exhibit F to Mr. Block’s declaration. The Youssef Report has been

                                                     1
     DEFENDANTS’ LOCAL RULE 79-5(F)(3)                                        Case No. 4:19-cv-07123-PJH
     STATEMENT [DKT. 530]
     Case 4:19-cv-07123-PJH           Document 544         Filed 01/23/25    Page 3 of 4



 1   designated as “Highly Confidential—Attorney’s Eyes Only” pursuant to the Stipulated Protective

 2   Order in this case (Dkt. No. 132). Mr. Youssef’s report contains discussion of Defendants’

 3   confidential and competitively sensitive computer code and Defendants’ technical documents and

 4   information. Specifically, it contains a detailed discussion of confidential functions of Defendants’

 5   technology and in-depth discussion of the logs obtained from Defendants’ computer servers. This

 6   is the type of information that is very closely guarded by the Defendants, and its public disclosure

 7   would not only harm NSO competitively but would also jeopardize the use of NSO’s technology

 8   by its sovereign government customers, which warrants sealing. See, e.g., Icon-IP Pty Ltd. v.

 9   Specialized Bicycle Components, Inc., 2015 WL 984121, at *2 (N.D. Cal. Mar. 4, 2015) (“pricing,

10   profit, and customer usage information, when kept confidential by a company, is appropriately

11   sealable under the ‘compelling reasons’ standard where that information could be used to the

12   company’s competitive disadvantage”); Hyundai Motor Am., Inc. v. Midwest Indus. Supply Co.,

13   2019 WL 11638962, at *1 (D. Nev. June 20, 2019) (finding “[c]ompelling reasons justifying sealing

14   court records generally exist” when such files contain “business information that might harm a

15   litigant’s competitive standing”); In re Sony Gaming Networks & Customer Data Sec. Breach

16   Litig., 2015 WL 13653885, at *1 (S.D. Cal. Jan. 20, 2015) (granting motion to file under seal where

17   “harm could result to Defendants’ business operations” if the information were disclosed); In re

18   Qualcomm Litig., 2017 WL 5176922, at *2 (S.D. Cal. Nov. 8, 2017) (concluding that the parties

19   established compelling reasons to file under seal records that implicate “confidential business

20   information” subject to confidentiality agreements); Bold Limited v. Rocket Resume, Inc., 22-cv-

21   01045-BLF, 2024 WL 1329921 at *3 (N.D. Cal. Mar. 27, 2024) (finding compelling reasons to seal

22   confidential business information, including non-public information about a company’s business

23   strategy, business transactions, corporate structure, and finances.)

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       DEFENDANTS’ LOCAL RULE 79-5(F)(3)                                      Case No. 4:19-cv-07123-PJH
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 1          Accordingly, Defendants respectfully request that the Court grant Plaintiffs’ Administrative

 2   Motion and seal the Youssef Report (Block Decl. Exh. F) (Dkt. 514-2).

 3

 4    Dated: January 23, 2025                            KING & SPALDING LLP

 5                                                       By: /s/ Aaron S. Craig
                                                         JOSEPH N. AKROTIRIANAKIS
 6                                                       AARON S. CRAIG
 7                                                       Attorneys for Defendants

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       DEFENDANTS’ LOCAL RULE 79-5(F)(3)                                     Case No. 4:19-cv-07123-PJH
       STATEMENT [DKT. 530]
